              Case 1:16-bk-10154                  Doc 1      Filed 01/29/16 Entered 01/29/16 11:39:31                             Desc Main
                                                             Document      Page 1 of 4
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF RHODE ISLAND

Case number (if known)                                                      Chapter      7
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Microfibres, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                                                                                 1 Moshassuck Street
                                  1 Moshassuck Street                                            P.O. Box 1208
                                  Pawtucket, RI 02860                                            Pawtucket, RI 02860
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Providence                                                     Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.microfibres.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership
                                      Other. Specify:




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Debtor
                                                                 Document      Page 2 ofCase
                                                                                         4 number (if known)
          Microfibres, Inc.
          Name



7.   Describe debtor's business A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53AB))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80a-3)

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.naics.com/search/.
                                                 3130

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     Debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years after
                                                                 that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operation, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                          Case number
                                                 District                                 When                          Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                               Relationship to you
                                                 District                                 When                        Case number, if known




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Debtor
                                                                Document      Page 3 ofCase
                                                                                        4 number (if known)
         Microfibres, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                Other     Chemicals used in operations can deteriorate if not maintained
                                                                              1 Moshassuck Street, Pawtucket, RI
                                            Where is the property?            and Kimwell Drive, Winston-Salem, NC, 00000-0000
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No

                                                Yes.    Insurance agency      AON Risk Services Northeast, Inc.
                                                        Contact name          Susan Lavallee-Godon
                                                        Phone                 401-553-6618


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                25,001-50,000
    creditors                       50-99                                            5001-10,000                                50,001-100,000
                                    100-199                                          10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor     Microfibros           Inc.                                                                       Case numbQr(If/!IlDWIl)
          Nam.:.
                                                                                                                                      ----              ---~--.~-


_"~_equest              for Relief, Declaration, and Signature

WARNING T. Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy case can result In flnea up to $500,000 or
           Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 162, 1341, 1519, and 3571,

17, Declaration and signature
    of authottaed                        The debtor requests rellefln accordance with (he chapter of ttlle 11, Unlted states Code, speoified In this petltlcn.
    representative of debtor
                                         I have been authorized to file this petltlon on behalf of the debtor.

                                         I have examined the Information In this petltlon and have a reasonable belief that the Information is trued and correct,

                                         I declare under penally of perjury that the foregoing is true and correct.

                                         Executed on       ~1t1o~f?Y(
                                                                   I: oj                G

                                                                                                                   James R. McCulloch
                                                                                                                   Printed name




18. Signature      of attorney
                                                                  or debtor




                                         Hinckley, Allen 8. Snyder, LLP.
                                         Firm name

                                         60 Kennedy Plaza
                                         SUite 1600
                                         Providence RI 02903·2319
                                         Number, Street, City, Slate &. ZIP Code


                                         Contact phone      401-274-2000                 Email address
                                                                                                                 jdoran@llincldeyallcn.com

                                          6553 Rhode Island
                                        "S;:::,,::::nu-=m:i::b.:;;-ra"'n"'d
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